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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE

10   JAIME RITTER,                                    Civil No. 2:21-CV-01026-RAJ
11            Plaintiff,
12
              vs.                                     PROPOSED ORDER
13
     COMMISSIONER OF SOCIAL
14   SECURITY,

15            Defendant.

16            Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date
17   shall be amended as follows:
18
              Defendant shall have up to and including December 3, 2021, to file a response to
19
     Plaintiff’s Complaint, including the certified administrative record. If the certified
20
     administrative record becomes available to the Office of the General Counsel before the
21
     aforementioned date, the record may be filed earlier, if feasible.
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              If the Commissioner is unable to file the certified administrative record by that
 2
     date, the Commissioner shall file another motion for extension every 28 days until the
 3
     certified administrative record becomes available.
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 5
              DATED this 19th day of October, 2021.
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                                                        A
                                                        The Honorable Richard A. Jones
 9                                                      United States District Judge
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